FLNDCase     1:07-cr-00014-WTH-GRJ
     Form 245B  (rev 12/2003) Judgment in a Criminal CaseDocument 273   Filed 08/21/08      Page 1 of 7 1 of 7
                                                                                                   Page
1:07CR14-006 - GEOFFREY JAMES RUSSELL


                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF FLORIDA
                                       GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case # 1:07CR14-006

GEOFFREY JAMES RUSSELL
                                                              USM # 20397-017

                                                              Defendant’s Attorney:
                                                              A. Huntley Johnson (Appointed)
                                                              P.O. Box 1322
                                                              Gainesville, FL 32602
___________________________________

                                    JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 1 and 2 of the Indictment on October 19, 2007. Accordingly,
IT IS ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the
following offense(s):

       TITLE/SECTION                     NATURE OF                      DATE OFFENSE
          NUMBER                          OFFENSE                        CONCLUDED               COUNT

 18 U.S.C. §§1343 and         Conspiracy to Commit Wire                 February 28, 2005          One
 1349                         Fraud

 18 U.S.C. §§1029(a)(2),      Use of Unauthorized Access                January 13, 2004           Two
 §§ 1029(c), and 2            Device

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Count Three dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                              Date of Imposition of Sentence:
                                                              August 13, 2008



                                                              s/Maurice M. Paul
                                                              MAURICE M. PAUL, SENIOR
                                                              UNITED STATES DISTRICT JUDGE

                                                              August 21, 2008
     Case 1:07-cr-00014-WTH-GRJ                        Document 273    Filed 08/21/08   Page 2 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 2 of 7
1:07CR14-006 - GEOFFREY JAMES RUSSELL


                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a term of 27 months as to Counts one and two, each to run concurrently with
one another.

       The court recommends that the defendant serve his time, when allowed by the rules of
the Bureau of Prisons, in a halfway house in Jacksonville, Florida.

      The defendant was denied bond and is remanded to the custody of the United States
Marshal.

          The defendant shall receive credit for time served from June 18, 2007, to present.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

 at _____________________________________________, with a certified copy of this
judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
     Case 1:07-cr-00014-WTH-GRJ                        Document 273      Filed 08/21/08        Page 3 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                 Page 3 of 7
1:07CR14-006 - GEOFFREY JAMES RUSSELL


                                              SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a
term of 3 years at to Counts one and two, each to run concurrently with one another.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

              The defendant shall not commit another federal, state, or local crime and shall
not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
as determined by the court.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

           The defendant shall cooperate in the collection of DNA as directed by the probation
officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.         the defendant shall not leave the judicial district without the permission of the court or probation
           officer;

2.         the defendant shall report to the probation officer and shall submit a truthful and complete written
           report within the first five days of each month;

3.         the defendant shall answer truthfully all inquiries by the probation officer and follow the
           instructions of the probation officer;

4.         the defendant shall support his or her dependents and meet other family responsibilities;

5.         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer
           for schooling, training, or other acceptable reasons;

6.         the defendant shall notify the probation officer at least 10 days prior to any change in residence or
           employment;

7.         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
           distribute, or administer any controlled substance or any paraphernalia related to any controlled
           substances, except as prescribed by a physician;

8.         the defendant shall not frequent places where controlled substances are illegally sold, used,
           distributed, or administered;
      Case 1:07-cr-00014-WTH-GRJ                       Document 273      Filed 08/21/08        Page 4 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                  Page 4 of 7
1:07CR14-006 - GEOFFREY JAMES RUSSELL



9.        the defendant shall not associate with any persons engaged in criminal activity and shall not
          associate with any person convicted of a felony unless granted permission to do so by the
          probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
          and shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by
          a law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall
          permit the probation officer to make such notifications and to confirm the defendant’s compliance
          with such notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that
          the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
          forth in the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other
          dangerous weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          The defendant shall not own or possess a firearm, dangerous weapon or destructive
          device.

          The defendant shall remain gainfully employed or actively seek employment while under
          supervision.

          The defendant shall participate in a program of drug and/or alcohol testing, treatment
          and counseling, which may also include in-patient drug treatment.

          The defendant shall participate in a program of mental health counseling.

          The defendant shall submit all financial document as requested by the probation officer.

          The defendant shall not open additional lines of credit or bank accounts without the
          approval of the probation officer.

          The defendant shall pay any unpaid restitution in monthly installments of not less than
          $200.00, to commence no later than 60 days after release from imprisonment.
     Case 1:07-cr-00014-WTH-GRJ                        Document 273   Filed 08/21/08   Page 5 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                      Page 5 of 7
1:07CR14-006 - GEOFFREY JAMES RUSSELL


          The defendant shall not operate any motor vehicle unless he possesses a valid driver’s
          license. Any infraction of this condition will be considered a major violation of supervised
          release.

       Upon a finding of a violation of probation or supervised release, I understand the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.

       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




          Defendant                                                        Date




          U.S. Probation Officer/Designated Witness                        Date
     Case 1:07-cr-00014-WTH-GRJ                        Document 273       Filed 08/21/08   Page 6 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                            Page 6 of 7
1:07CR14-006 - GEOFFREY JAMES RUSSELL


                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                       Fine                   Restitution
                $200.00                                       NONE                   $277,480.91




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed.

No fine imposed.

                                                      RESTITUTION

Restitution in the amount of $277,480.91 is imposed.

The defendant shall make restitution, joint and several with co-defendants, to the following
victims in the amounts listed below:


                                                           Total Amount               Amount of
           Name of Payee                                      of Loss             Restitution Ordered

 Citigroup Investigative Services                          $215,500.91                $215,500.91

 GE Money Bank                                              $ 61,980.00               $ 61,980.00
     Case 1:07-cr-00014-WTH-GRJ                        Document 273   Filed 08/21/08       Page 7 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 7 of 7
1:07CR14-006 - GEOFFREY JAMES RUSSELL


       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the
defendant the court authorizes those payments to be made to the victims on a rotating basis.

       The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in
the Statement of Reasons page.

Restitution in the amount of $277,480.91 is hereby ordered jointly and severally with co-
defendants.

The Court has determined that the defendant does not have the ability to pay interest.



                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
in full immediately

          The defendant shall pay any unpaid restitution in monthly installments of $200.00,
          to commence no later than 60 days after release from imprisonment.


The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.
